          Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 1 of 31




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

LA UNION DEL PUEBLO ENTERO, et al. §
                   Plaintiffs,     §
                                   §
v.                                 §                        Case No: 5:21-cv-844-XR
                                   §
GREGORY ABBOTT, et al.             §
                   Defendants      §

TEXAS STATE LULAC;                              §
VOTO LATINO                                     §
                            Plaintiffs,         §
v.                                              §           Case No: 1:21-cv-786-XR
                                                §
JOSE ESPARZA, in his official capacity          §
as Texas Deputy Secretary of State, et al       §
                         Defendants.            §

                 DEFENDANT YVONNE RAMÓN’S ORIGINAL ANSWER

        COMES NOW Defendant Yvonne Ramón (“Defendant) in her official capacity as Hidalgo

County Elections Administrator and files this Answer to Plaintiffs’ Original Complaint for

Declaratory and Injunctive Relief, filed on September 7, 2021 as cause number 1:21-cv-00786. On

September 30, 2021, the Court entered an order consolidating this action with other actions

involving Senate Bill 1 under 5:21-CV-0844. Defendant now files this answer pursuant to Rule 8,

Federal Rules of Civil Procedure, and would show as follows:


                                    I.     GENERAL DENIAL


     Pursuant to Federal Rule of Civil Procedure 8(b), Defendant denies each and every allegation

contained in Plaintiffs’ Original Complaint except those expressly admitted herein. Defendant

                                                1
         Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 2 of 31




denies that any of Defendant’s actions have violated any state or federal laws or rights secured

under the United States Constitution. Defendant takes no position on the constitutionality of the

challenged provisions of Senate Bill 1.


                                   II.    SPECIFIC DENIALS

 1.   Defendant admits that Texas has historically had low voter turnout. Defendant lacks the

      knowledge to admit or deny the remaining allegations and characterizations contained in

      paragraph 1 of Plaintiffs’ Original Complaint.

 2.   Defendant admits that voting was among the many aspects of life made more difficult by

      the COVID-19 pandemic. Defendant lacks the knowledge to admit or deny the remaining

      allegations and characterizations contained in paragraph 2 of Plaintiffs’ Original Complaint.

 3.   Defendant admits that 2020 voter turnout was an increase over recent elections. Defendant

      lacks the knowledge to admit or deny the remaining allegations and characterizations

      contained in paragraph 3 of Plaintiffs’ Original Complaint.

 4.   Defendant lacks the knowledge to admit or deny the allegations and characterizations in

      paragraph 4 of Plaintiffs’ Original Complaint.

 5.   Defendant lacks the knowledge to admit or deny the allegations and characterizations in

      paragraph 5 of Plaintiffs’ Original Complaint.

 6.   Defendant lacks the knowledge to admit or deny the allegations and characterizations in

      paragraph 6 of Plaintiffs’ Original Complaint.

 7.   Defendant lacks the knowledge to admit or deny the allegations and characterizations in

      paragraph 7 of Plaintiffs’ Original Complaint.




                                                2
        Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 3 of 31




8.   Defendant admits that SB 7 failed to pass in the most recent regular session of the Texas

     Legislature. Defendant lacks the knowledge to admit or deny the remaining allegations and

     characterizations contained in paragraph 8 of Plaintiffs’ Original Complaint.

9.   Defendant admits that Governor Abbott called a special session shortly after the end of the

     2021 regular session. Defendant lacks the knowledge to admit or deny the remaining

     allegations and characterizations contained in paragraph 9 of Plaintiffs’ Original Complaint.

10. Defendant admits that SB 1 passed during the second special session of the 2021 Texas

     Legislature. Defendant lacks the knowledge to admit or deny the remaining allegations and

     characterizations contained in paragraph 10 of Plaintiffs’ Original Complaint.

11. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

     paragraph 11 of Plaintiffs’ Original Complaint.

12. Paragraph 12 of Plaintiffs’ Original Complaint consists of a legal conclusion, which does

     not require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure. To the

     extent Paragraph 12 requires a response, Defendant lacks the knowledge to admit or deny

     the allegations and characterizations in paragraph 12 of Plaintiffs’ Original Complaint.




                                               3
       Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 4 of 31




13. Paragraph 13 of Plaintiffs’ Original Complaint does not require a response pursuant to Rule

    8 of the Federal Rules of Civil Procedure.

14. Defendant admits paragraph 14 of Plaintiffs’ Original Complaint.

15. Defendant admits paragraph 15 of Plaintiffs’ Original Complaint.

16. Defendant admits paragraph 16 of Plaintiffs’ Original Complaint.

17. Defendant admits paragraph 17 of Plaintiffs’ Original Complaint.

18. Defendant admits paragraph 18 of Plaintiffs’ Original Complaint

19. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 19 of Plaintiffs’ Original Complaint.

20. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 20 of Plaintiffs’ Original Complaint.

21. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 21 of Plaintiffs’ Original Complaint.

22. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 22 of Plaintiffs’ Original Complaint.

23. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 23 of Plaintiffs’ Original Complaint.

24. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 24 of Plaintiffs’ Original Complaint.

25. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 25 of Plaintiffs’ Original Complaint.




                                              4
       Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 5 of 31




26. Defendant admits that Defendant Jose Esparza is sued in his official capacity as Texas

    Deputy Secretary of State. Defendant lacks the knowledge to admit or deny the remaining

    allegations and characterizations in paragraph 26 of Plaintiffs’ Original Complaint.

27. Defendant admits that Defendant Ken Paxton is sued in his official capacity as Texas

    Attorney General. Defendant lacks the knowledge to admit or deny the remaining

    allegations and characterizations in paragraph 27 of Plaintiffs’ Original Complaint.

28. Defendant admits that Defendant Jacqueln Callanen is sued in her official capacity as Bexar

    County Elections Administrator. No response is required to the remainder of paragraph 28

    of Plaintiffs’ Original Complaint.

29. Defendant admits that Defendant Dana DeBeauvoir is sued in her official capacity as Travis

    County Clerk. No response is required to the remainder of paragraph 29 of Plaintiffs’

    Original Complaint.

30. Defendant admits that Defendant Isabel Longoria is sued in her official capacity as Harris

    County Elections Administrator. No response is required to the remainder of paragraph 30

    of Plaintiffs’ Original Complaint.

31. Defendant admits that she is sued in her official capacity as Hidalgo County Elections

    Administrator. No response is required to the remainder of paragraph 31 of Plaintiffs’

    Original Complaint.

32. Defendant admits that Defendant Michael Scarpello is sued in his official capacity as Dallas

    County Elections Administrator. No response is required to the remainder of paragraph 32

    of Plaintiffs’ Original Complaint.




                                              5
       Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 6 of 31




33. Defendant admits that Defendant Lisa Wise is sued in her official capacity as El Paso

    County Elections Administrator. No response is required to the remainder of paragraph 33

    of Plaintiffs’ Original Complaint.

34. Defendant admits that Texas has historically had low voter turnout. Defendant lacks the

    knowledge to admit or deny the remaining allegations and characterizations contained in

    paragraph 34 of Plaintiffs’ Original Complaint.

35. Defendant admits paragraph 35 of Plaintiffs’ Original Complaint.

36. Defendant admits that voter participation has been increasing. Defendant admits that the

    number of eligible Hispanic and Black voters in the state has been increasing. Defendant

    lacks the knowledge to admit or deny the remaining allegations and characterizations in

    paragraph 36 of Plaintiffs’ Original Complaint.

37. Defendant admits that Hidalgo County saw an increase in turnout in 2018 compared to

    recent midterm elections. Defendant lacks the knowledge to admit or deny the remaining

    allegations and characterizations in paragraph 37 of Plaintiffs’ Original Complaint.

38. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 38 of Plaintiffs’ Original Complaint.

39. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 39 of Plaintiffs’ Original Complaint.

40. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 40 of Plaintiffs’ Original Complaint.

41. Defendant admits that Hidalgo County voter turnout increased in 2020. Defendant lacks the

    knowledge to admit or deny the remaining allegations and characterizations in paragraph

    41 of Plaintiffs’ Original Complaint.



                                              6
       Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 7 of 31




42. Defendant admits that Hidalgo County voter turnout in 2020 was higher than recent

    Presidential elections. Defendant lacks the knowledge to admit or deny the remaining

    allegations and characterizations in paragraph 42 of Plaintiffs’ Original Complaint.

43. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 43 of Plaintiffs’ Original Complaint.

44. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 44 of Plaintiffs’ Original Complaint.

45. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 45 of Plaintiffs’ Original Complaint.

46. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 46 of Plaintiffs’ Original Complaint.

47. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 47 of Plaintiffs’ Original Complaint.

48. Defendant admits that Hidalgo County had early voting from 7 a.m. to 7 p.m. for the 2020

    general election. Defendant lacks the knowledge to admit or deny the remaining allegations

    and characterizations in paragraph 48 of Plaintiffs’ Original Complaint.

49. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 49 of Plaintiffs’ Original Complaint.

50. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 50 of Plaintiffs’ Original Complaint.

51. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 51 of Plaintiffs’ Original Complaint.




                                              7
       Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 8 of 31




52. Defendant admits that Harris County is the largest county in Texas. Defendant lacks the

    knowledge to admit or deny the remaining allegations and characterizations in paragraph

    52 of Plaintiffs’ Original Complaint.

53. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 53 of Plaintiffs’ Original Complaint.

54. Defendant admits that in 2020 Hidalgo County saw an increase in voters voting by mail.

    Defendant lacks the knowledge to admit or deny the remaining allegations and

    characterizations in paragraph 54 of Plaintiffs’ Original Complaint.

55. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 55 of Plaintiffs’ Original Complaint.

56. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 56 of Plaintiffs’ Original Complaint.

57. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 57 of Plaintiffs’ Original Complaint.

58. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 58 of Plaintiffs’ Original Complaint.

59. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 59 of Plaintiffs’ Original Complaint.

60. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 60 of Plaintiffs’ Original Complaint.

61. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 61 of Plaintiffs’ Original Complaint.




                                              8
       Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 9 of 31




62. Defendant admits that Governor Abbot issued a proclamation on October 1, 2020 limiting

    counties to one early voting clerk’s location for ballot delivery. Defendant lacks the

    knowledge to admit or deny the remaining allegations and characterizations in paragraph

    62 of Plaintiffs’ Original Complaint.

63. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 63 of Plaintiffs’ Original Complaint.

64. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 64 of Plaintiffs’ Original Complaint.

65. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 65 of Plaintiffs’ Original Complaint.

66. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 66 of Plaintiffs’ Original Complaint.

67. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 67 of Plaintiffs’ Original Complaint.

68. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 68 of Plaintiffs’ Original Complaint.

69. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 69 of Plaintiffs’ Original Complaint.

70. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 70 of Plaintiffs’ Original Complaint.

71. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 71 of Plaintiffs’ Original Complaint.




                                             9
      Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 10 of 31




72. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 72 of Plaintiffs’ Original Complaint.

73. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 73 of Plaintiffs’ Original Complaint.

74. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 74 of Plaintiffs’ Original Complaint.

75. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 75 of Plaintiffs’ Original Complaint.

76. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 76 of Plaintiffs’ Original Complaint.

77. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 77 of Plaintiffs’ Original Complaint.

78. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 78 of Plaintiffs’ Original Complaint.

79. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 79 of Plaintiffs’ Original Complaint.

80. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 80 of Plaintiffs’ Original Complaint.

81. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 81 of Plaintiffs’ Original Complaint.

82. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 82 of Plaintiffs’ Original Complaint.




                                            10
      Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 11 of 31




83. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 83 of Plaintiffs’ Original Complaint.

84. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 84 of Plaintiffs’ Original Complaint.

85. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 85 of Plaintiffs’ Original Complaint.

86. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 86 of Plaintiffs’ Original Complaint.

87. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 87 of Plaintiffs’ Original Complaint.

88. Defendant admits that SB 7 failed to pass during the regular session of the 2021 Texas

    Legislature. Defendant lacks the knowledge to admit or deny the remaining allegations and

    characterizations in paragraph 88 of Plaintiffs’ Original Complaint.

89. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 89 of Plaintiffs’ Original Complaint.

90. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 90 of Plaintiffs’ Original Complaint.

91. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 91 of Plaintiffs’ Original Complaint.

92. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 92 of Plaintiffs’ Original Complaint.

93. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 93 of Plaintiffs’ Original Complaint.



                                             11
      Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 12 of 31




94. Defendant admits the Texas Senate passed SB 7 and it was sent to the Texas House of

    Representatives. Defendant lacks the knowledge to admit or deny the remaining allegations

    and characterizations in paragraph 94 of Plaintiffs’ Original Complaint.

95. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 95 of Plaintiffs’ Original Complaint.

96. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 96 of Plaintiffs’ Original Complaint.

97. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 97 of Plaintiffs’ Original Complaint.

98. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 98 of Plaintiffs’ Original Complaint.

99. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 99 of Plaintiffs’ Original Complaint.

100. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 100 of Plaintiffs’ Original Complaint.

101. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 101 of Plaintiffs’ Original Complaint.

102. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 102 of Plaintiffs’ Original Complaint.

103. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 103 of Plaintiffs’ Original Complaint.

104. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 104 of Plaintiffs’ Original Complaint.



                                             12
      Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 13 of 31




105. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 105 of Plaintiffs’ Original Complaint.

106. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 106 of Plaintiffs’ Original Complaint.

107. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 107 of Plaintiffs’ Original Complaint.

108. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 108 of Plaintiffs’ Original Complaint.

109. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 109 of Plaintiffs’ Original Complaint.

110. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 110 of Plaintiffs’ Original Complaint.

111. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 111 of Plaintiffs’ Original Complaint.

112. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 112 of Plaintiffs’ Original Complaint.

113. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 113 of Plaintiffs’ Original Complaint.

114. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 114 of Plaintiffs’ Original Complaint.

115. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 115 of Plaintiffs’ Original Complaint.




                                            13
      Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 14 of 31




116. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 116 of Plaintiffs’ Original Complaint.

117. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 117 of Plaintiffs’ Original Complaint.

118. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 118 of Plaintiffs’ Original Complaint.

119. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 119 of Plaintiffs’ Original Complaint.

120. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 120 of Plaintiffs’ Original Complaint.

121. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 121 of Plaintiffs’ Original Complaint.

122. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 122 of Plaintiffs’ Original Complaint.

123. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 123 of Plaintiffs’ Original Complaint.

124. Defendant admits that the Texas Senate passed SB 7. Defendant lacks the knowledge to

    admit or deny the remaining allegations and characterizations in paragraph 124 of Plaintiffs’

    Original Complaint.

125. Defendant admits that SB 7 died on the floor of the Texas House of Representatives.

    Defendant lacks the knowledge to admit or deny the remaining allegations and

    characterizations in paragraph 125 of Plaintiffs’ Original Complaint.




                                             14
       Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 15 of 31




126. Paragraph 126 of Plaintiff’s Original Complaint contains a legal conclusion that does not

    require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure. To the extent

    the paragraph does require a response, Defendant lacks the knowledge to admit or deny the

    allegations and characterizations in paragraph 126 of Plaintiffs’ Original Complaint.

127. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 127 of Plaintiffs’ Original Complaint.

128. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 128 of Plaintiffs’ Original Complaint.

129. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 129 of Plaintiffs’ Original Complaint.

130. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 130 of Plaintiffs’ Original Complaint.

131. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 131 of Plaintiffs’ Original Complaint.

132. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 132 of Plaintiffs’ Original Complaint.

133. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 133 of Plaintiffs’ Original Complaint.

134. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 134 of Plaintiffs’ Original Complaint.

135. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 135 of Plaintiffs’ Original Complaint.




                                             15
       Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 16 of 31




136. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 136 of Plaintiffs’ Original Complaint.

137. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 137 of Plaintiffs’ Original Complaint.

138. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 138 of Plaintiffs’ Original Complaint.

139. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 139 of Plaintiffs’ Original Complaint.

140. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 140 of Plaintiffs’ Original Complaint.

141. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 141 of Plaintiffs’ Original Complaint.

142. Defendant admits that the quorum in the Texas House of Representatives was broken.

    Defendant lacks the knowledge to admit or deny the remaining characterizations and

    allegations in paragraph 142 of Plaintiffs’ Original Complaint.

143. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 143 of Plaintiffs’ Original Complaint.

144. Defendant admits that the first special session of the 2021 Texas Legislature ended without

    a quorum in the Texas House of Representatives. Defendant admits that Governor Abbott

    subsequently called a second legislative session. Defendant lacks the knowledge to admit

    or deny the remaining allegations and characterizations in paragraph 144 of Plaintiffs’

    Original Complaint.




                                             16
       Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 17 of 31




145. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 145 of Plaintiffs’ Original Complaint.

146. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 146 of Plaintiffs’ Original Complaint.

147. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 147 of Plaintiffs’ Original Complaint.

148. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 148 of Plaintiffs’ Original Complaint.

149. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 149 of Plaintiffs’ Original Complaint.

150. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 150 of Plaintiffs’ Original Complaint.

151. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 151 of Plaintiffs’ Original Complaint.

152. Defendant admits that SB 1 passed both houses of the Texas Legislature. Defendant lacks

    the knowledge to admit or deny the remaining allegations and characterizations in paragraph

    152 of Plaintiffs’ Original Complaint.

153. Defendant admits paragraph 153 of Plaintiffs’ Original Complaint.

154. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 154 of Plaintiffs’ Original Complaint.

155. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 155 of Plaintiffs’ Original Complaint.




                                             17
       Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 18 of 31




156. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 156 of Plaintiffs’ Original Complaint.

157. Defendant admits SB 1 requires absentee ballot applications and absentee ballot carrier

    envelopes to include the voter’s driver’s license or personal identification number or the last

    four digits of the voter’s social security number. Defendant lacks the knowledge to admit or

    deny the remaining allegations and characterizations in paragraph 157 of Plaintiffs’ Original

    Complaint.

158. Defendant admits SB 1 requires an election official receiving a voter’s absentee ballot to

    record the voter’s name, signature, and type of identification on a roster prescribed by the

    secretary of state. Defendant lacks the knowledge to admit or deny the remaining allegations

    and characterizations in paragraph 158 of Plaintiffs’ Original Complaint.

159. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 159 of Plaintiffs’ Original Complaint.

160. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 160 of Plaintiffs’ Original Complaint.

161. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 161 of Plaintiffs’ Original Complaint.

162. Defendant admits SB 1 prohibits the use of drive-thru voting locations. Defendant lacks the

    knowledge to admit or deny the remaining allegations and characterizations in paragraph

    162 of Plaintiffs’ Original Complaint.

163. Defendant admits to the text of Tex. Elec. Code §85.062 prior to the passage of SB 1.

    Defendant lacks the knowledge to admit or deny the remaining allegations and

    characterizations in paragraph 163 of Plaintiffs’ Original Complaint.



                                              18
       Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 19 of 31




164. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 164 of Plaintiffs’ Original Complaint.

165. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 165 of Plaintiffs’ Original Complaint.

166. Defendant admits to the text of Tex. Elec. Code §64.031. Defendant admits that SB 1

    requires that a person assisting a voter to fill out a form providing the assistant’s name,

    address, relationship to the voter, and whether the person received or accepted any

    compensation or other benefit from a candidate, campaign, or political committee.

    Defendant lacks the knowledge to admit or deny the remaining allegations and

    characterizations in paragraph 166 of Plaintiffs’ Original Complaint.

167. Defendant admits to the oath required by voter assistants required by SB 1. Defendant lacks

    the knowledge to admit or deny the remaining allegations and characterizations in paragraph

    167 of Plaintiffs’ Original Complaint.

168. Defendant admits to the requirements of Tex. Elec. Code §§ 64.032(d), 64.034, and 64.036.

169. Defendant admits to the language of Tex. Elec. Code § 276.015. Defendant lacks the

    knowledge to admit or deny the remaining allegations and characterizations in paragraph

    169 of Plaintiffs’ Original Complaint.

170. Paragraph 170 of Plaintiffs’ Original Complaint consists of a legal conclusion which does

    not require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure.

171. Paragraph 171 of Plaintiffs’ Original Complaint consists of a legal conclusion which does

    not require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure.

172. Defendant admits paragraph 172 of Plaintiffs’ Original Complaint.




                                             19
       Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 20 of 31




173. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 173 of Plaintiffs’ Original Complaint.

174. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 174 of Plaintiffs’ Original Complaint.

175. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 175 of Plaintiffs’ Original Complaint.

176. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 176 of Plaintiffs’ Original Complaint.

177. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 177 of Plaintiffs’ Original Complaint.

178. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 178 of Plaintiffs’ Original Complaint.

179. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 179 of Plaintiffs’ Original Complaint.

180. Defendant admits to the text of SB 1. Defendant lacks the knowledge to admit or deny the

    remaining allegations and characterizations in paragraph 180 of Plaintiffs’ Original

    Complaint.

181. Defendant admits paragraph 181 of Plaintiffs’ Original Complaint.

182. Defendant admits to the text of SB 1. Defendant lacks the knowledge to admit or deny the

    remaining allegations and characterizations in paragraph 182 of Plaintiffs’ Original

    Complaint.

183. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 183 of Plaintiffs’ Original Complaint.



                                            20
      Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 21 of 31




184. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 184 of Plaintiffs’ Original Complaint.

185. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 185 of Plaintiffs’ Original Complaint.

186. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 186 of Plaintiffs’ Original Complaint.

187. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 187 of Plaintiffs’ Original Complaint.

188. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 188 of Plaintiffs’ Original Complaint.

189. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 189 of Plaintiffs’ Original Complaint.

190. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 190 of Plaintiffs’ Original Complaint.

191. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 191 of Plaintiffs’ Original Complaint.

192. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 192 of Plaintiffs’ Original Complaint.

193. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 193 of Plaintiffs’ Original Complaint.

194. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 194 of Plaintiffs’ Original Complaint.




                                            21
      Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 22 of 31




195. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 195 of Plaintiffs’ Original Complaint.

196. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 196 of Plaintiffs’ Original Complaint.

197. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 197 of Plaintiffs’ Original Complaint.

198. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 198 of Plaintiffs’ Original Complaint.

199. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 199 of Plaintiffs’ Original Complaint.

200. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 200 of Plaintiffs’ Original Complaint.

201. Defendant admits that paragraph 201 of Plaintiffs’ Original Complaint accurately quotes

    the cited decisions.

202. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 202 of Plaintiffs’ Original Complaint.

203. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 203 of Plaintiffs’ Original Complaint.

204. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 204 of Plaintiffs’ Original Complaint.

205. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 205 of Plaintiffs’ Original Complaint.




                                            22
      Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 23 of 31




206. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 206 of Plaintiffs’ Original Complaint.

207. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 207 of Plaintiffs’ Original Complaint.

208. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 208 of Plaintiffs’ Original Complaint.

209. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 209 of Plaintiffs’ Original Complaint.

210. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 210 of Plaintiffs’ Original Complaint.

211. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 211 of Plaintiffs’ Original Complaint.

212. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 212 of Plaintiffs’ Original Complaint.

213. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 213 of Plaintiffs’ Original Complaint.

214. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 214 of Plaintiffs’ Original Complaint.

215. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 215 of Plaintiffs’ Original Complaint.

216. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 216 of Plaintiffs’ Original Complaint.




                                            23
       Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 24 of 31




217. Plaintiff admits to the existence of the advisory issued by former Secretary of State David

    Whitley in 2019. Defendant lacks the knowledge to admit or deny the remaining allegations

    and characterizations in paragraph 217 of Plaintiffs’ Original Complaint.

218. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 218 of Plaintiffs’ Original Complaint.

219. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 219 of Plaintiffs’ Original Complaint.

220. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 220 of Plaintiffs’ Original Complaint.

221. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 221 of Plaintiffs’ Original Complaint.

222. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 222 of Plaintiffs’ Original Complaint.

223. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 223 of Plaintiffs’ Original Complaint.

224. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 224 of Plaintiffs’ Original Complaint.

225. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 225 of Plaintiffs’ Original Complaint.

226. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 226 of Plaintiffs’ Original Complaint.

227. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 227 of Plaintiffs’ Original Complaint.



                                             24
      Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 25 of 31




228. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 228 of Plaintiffs’ Original Complaint.

229. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 229 of Plaintiffs’ Original Complaint.

230. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 230 of Plaintiffs’ Original Complaint.

231. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 231 of Plaintiffs’ Original Complaint.

232. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 232 of Plaintiffs’ Original Complaint.

233. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 233 of Plaintiffs’ Original Complaint.

234. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 234 of Plaintiffs’ Original Complaint.

235. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 235 of Plaintiffs’ Original Complaint.

236. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 236 of Plaintiffs’ Original Complaint.

237. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 237 of Plaintiffs’ Original Complaint.

238. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 238 of Plaintiffs’ Original Complaint.




                                            25
       Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 26 of 31




239. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 239 of Plaintiffs’ Original Complaint.

240. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 240 of Plaintiffs’ Original Complaint.

241. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 241 of Plaintiffs’ Original Complaint.

242. Defendant admits that members of the Texas Supreme Court and Texas Court of Criminal

    Appeals are elected to at-large positions with numbered places. Defendant lacks the

    knowledge to admit or deny the remaining allegations and characterizations in paragraph

    242 of Plaintiffs’ Original Complaint.

243. Paragraph 243 of Plaintiffs’ Original Complaint does not require a response pursuant to

    Rule 8 of the Federal Rules of Civil Procedure.

244. Paragraph 244 of Plaintiffs’ Original Complaint consists of a legal conclusion and does not

    require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure.

245. Paragraph 245 of Plaintiffs’ Original Complaint consists of a legal conclusion and does not

    require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure.

246. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 246 of Plaintiffs’ Original Complaint.

247. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 247 of Plaintiffs’ Original Complaint.

248. Paragraph 248 of Plaintiffs’ Original Complaint consists of a legal conclusion and does not

    require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure.




                                             26
       Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 27 of 31




249. Paragraph 249 of Plaintiffs’ Original Complaint does not require a response pursuant to

    Rule 8 of the Federal Rules of Civil Procedure.

250. Paragraph 250 of Plaintiffs’ Original Complaint consists of a legal conclusion and does not

    require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure.

251. Paragraph 251 of Plaintiffs’ Original Complaint consists of a legal conclusion and does not

    require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure.

252. Paragraph 252 of Plaintiffs’ Original Complaint consists of a legal conclusion and does not

    require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure.

253. Defendant admits to the provisions of SB 1 that Plaintiffs challenge. Defendant lacks the

    knowledge to admit or deny the remaining allegations and characterizations in paragraph

    253 of Plaintiffs’ Original Complaint.

254. Paragraph 254 of Plaintiffs’ Original Complaint consists of a legal conclusion and does not

    require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure.

255. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 255 of Plaintiffs’ Original Complaint.

256. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 256 of Plaintiffs’ Original Complaint.

257. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 257 of Plaintiffs’ Original Complaint.

258. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 258 of Plaintiffs’ Original Complaint.

259. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 259 of Plaintiffs’ Original Complaint.



                                             27
       Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 28 of 31




260. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 260 of Plaintiffs’ Original Complaint.

261. Paragraph 261 of Plaintiffs’ Original Complaint consists of a legal conclusion and does not

    require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure.

262. Paragraph 262 of Plaintiffs’ Original Complaint consists of a legal conclusion and does not

    require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure.

263. Paragraph 263 of Plaintiffs’ Original Complaint does not require a response pursuant to

    Rule 8 of the Federal Rules of Civil Procedure.

264. Paragraph 264 of Plaintiffs’ Original Complaint consists of a legal conclusion and does not

    require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure.

265. Paragraph 265 of Plaintiffs’ Original Complaint consists of a legal conclusion and does not

    require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure.

266. Paragraph 266 of Plaintiffs’ Original Complaint consists of a legal conclusion and does not

    require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure.

267. Defendant admits to the text of SB 1. Defendant lacks the knowledge to admit or deny the

    remaining allegations and characterizations in paragraph 267 of Plaintiffs’ Original

    Complaint.

268. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 268 of Plaintiffs’ Original Complaint.

269. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 269 of Plaintiffs’ Original Complaint.

270. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 270 of Plaintiffs’ Original Complaint.



                                             28
       Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 29 of 31




271. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 271 of Plaintiffs’ Original Complaint.

272. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 272 of Plaintiffs’ Original Complaint.

273. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 273 of Plaintiffs’ Original Complaint.

274. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 274 of Plaintiffs’ Original Complaint.

275. Paragraph 275 of Plaintiffs’ Original Complaint consists of a legal conclusion and does not

    require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure.

276. Paragraph 276 of Plaintiffs’ Original Complaint does not require a response pursuant to

    Rule 8 of the Federal Rules of Civil Procedure.

277. Paragraph 277 of Plaintiffs’ Original Complaint consists of a legal conclusion and does not

    require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure.

278. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 278 of Plaintiffs’ Original Complaint.

279. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 279 of Plaintiffs’ Original Complaint.

280. Defendant admits to the text of SB 1 in paragraph 280 of Plaintiffs’ Original Complaint.

281. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 281 of Plaintiffs’ Original Complaint.

282. Defendant lacks the knowledge to admit or deny the allegations and characterizations in

    paragraph 282 of Plaintiffs’ Original Complaint.



                                             29
         Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 30 of 31




 283. Paragraph 283 of Plaintiffs’ Original Complaint consists of a legal conclusion and does not

      require a response pursuant to Rule 8 of the Federal Rules of Civil Procedure.

                               III.    AFFIRMATIVE DEFENSES


   Defendant asserts that sovereign immunity, qualified immunity, and/or equity bar Plaintiffs’

recovery of attorneys’ fees from Defendant in this lawsuit. Defendant is not responsible for

enacting Texas election law, including SB 1, and does not take any position on the constitutionality

of the provisions challenged by this lawsuit.


                             IV.      RESERVATION OF DEFENSES


       Defendant reserves the right to raise any affirmative or other defenses that may arise

   throughout the development of this case.


                                      V.         JURY DEMAND


       Defendant hereby demands a trial by jury on all issues so triable pursuant to Federal

   Rules of Civil Procedure 38(b) and 81(c)(3)(b).


                                           VI.     PRAYER


    THEREFORE, Defendant denies that Plaintiffs are entitled to any relief from Defendant.

Defendant respectfully requests that all relief requested by Plaintiffs as to Defendant be denied,

that Defendant recover her attorneys’ fees and costs, and that she be awarded any additional relief

to which she may be entitled in law or equity.

                                                       Respectfully submitted,

                                                       RICARDO RODRIGUEZ, JR.
                                                       CRIMINAL DISTRICT ATTORNEY
                                                       HIDALGO COUNTY, TEXAS

                                                  30
        Case 5:21-cv-00844-XR Document 61 Filed 10/25/21 Page 31 of 31




                                                 /s/ Josephine Ramirez-Solis
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                                                 Fax: (956) 318-2301
                                                 ATTORNEY FOR DEFENDANT
                                                 YVONNE RAMÓN


                              CERTIFICATE OF SERVICE

     I hereby certify that on October 25, 2021, this document was served through the Court’s
CM/ECF Document Filing System upon all following counsel of record.


                                                 /s/ Josephine Ramirez-Solis
                                                 Josephine Ramirez-Solis
                                                 Assistant District Attorney




                                            31
